5
Case 1:14-cv-01323-LAP Document 2 Filed 02/27/14 Page 1 of

THE UNITED STATES DISTRICT couRT 14 C V ] 3 2 9

SOUTHERN DISTRICT OF NEW voRK

PLAINTIFF: Taye Elleby
COMPLAINT
under the

V.
“Civil rights act 42 U.S...

   

NEW YORK post NEWS PSpes ey (1983)

; JURY TRIAL
FRANK ROSARITO (REPORTER)
DANTEL PRENDERGAST CREPORSTER) NO

 

 

Daper, these said indivisuals defamed and Slandered the plaintiff by

@ brutes The Words read in big bold letters (Srute Busted as £, Harlem

appear hefore 3 CGurt, judge , or jury.

The defendants made these false allegations on a PuBbLlic level and
& M@ssive level as well, being that Sveryone reads the news Paper,
The defendants did so with Malice, and ill will towards the slaintiff
and for the Expressed purpose of injuring the plaintiffs good name,
Teputetion , Feelings and nublie Standing, exposing him to public

Tidiculs and loss of esteem in the Minds of a substantial Rumber of

New york post news Paper, and were employees of the ney york post magizin

News paper, it should be further noted that the neus Paper owner or
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Because these statements defameing publications being nut in the news
before the plaintiff aver apoe@ared before a judge or court , olaintiff
was already labeled and therefore judged, and was deprived of a fair
trial, being that the media(defendants) already made a false atatement
to a massive amount of people that wateh the news every day, all avar
the entire united States, especially in the plaintiffs immediate
Community. and as a result of the false statements, and defameing
publications the plaintiff was deprived of a fair trial , in the

end after all damage was done, the Hleaintiffs Sth, 6th, and 14th
amendment rights were violated oy the employees of the naw york post
news paper,

It should be noted that the intent of these words that were otinted
by the new york post , and reported by frank rosario, and daniel pren-
dergast
dergest were understood to mean that the plaintiff was a brute harlem
pimp that kidnapped and held women against there will and forced them
to prostitute. (see attached article from news paper)

The words that were written with incompetence, larceny, and reckless
disregard for the plaintiff,and by the defendants daing all these things
they defamed the nlaintiff and ta e massive ameunt of pecols and as
&@ result he was deprived s fair trial, which is a civil rights violation,
and the defendants did so knowing the ads would defame the olaintiff.

Sy teason of the fore going, slaintiff has been damaged in the sum
of $ 10,000,000.00 end demands for relief, indorsement by attorney and

Verifiestion

Respectfully submitted

aay. fie

lve ee ~15-07283
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wViatt PUOWAS LU PULILIs UU LUCE WOLICH ION basi rlariem apartment: cops - NYPOS Lc... Page | of 2

 

1) ‘pimp’

 

e pusted as E
By FRANK ROSARIO and DANIEL PRENDERGAST

Last Updated: 3:42 AM, May 11, 2013
Posted: 1:51 AM, May 11, 2013

  

A Manhattan man was busted for allegedly pimping three women — including a
17-year-old Connecticut runaway — out of an East Harlam apartment, cops said
yesierday.

Taye Ellerby, 35, advertised the women on Backpage.com and was clearing $300
a day on each gal, a police source said.

“If they tried to leave, the pimp would hurt them. They got beat up a lot,” the
source said.

Besides the Connecticut teen, Ellerby also pimped a 21-year-old and a 24-year-
old out of an apartment in the Taft Houses or: Madison Avenue, cops said.

Ellerby was arrested late Thursday night after a woman who used to work for
Ellerby contacted the Connecticut teen’s parents, who called 91 1, cops said,

Neighbors said everyone in the neighborhood knew Ellerby ran a brothel out of the
apartment.

“Dudes were just paying for sex in there,” said one neighbor.

“He had the girls line up every night, They would be sitting in a couch in the living
room. The men who came to the door could take their pick,” said neighbor
Jeanetie Martinez, 48.

“Whenever the girls messed up or did something wrong, you could hear him
screaming at them, ‘If you ever do that again, I’m going to f--king kill you.’ ”

Neighbors said Ellerby owned a pit bull.

http:/Awww-nypost.com/f/print/news/ local/manhattan/brute_busted_as_ harlem _pimp_OHim... 5/16/2013
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Man busted for pimping out three women from East Harlem apartment: cops - NYPOST.c.... Page 2 of 2

Ellerby was slapped with charges including sex trafficking, promoting prostitution,
and endangering the welfare of a child.

 

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http:/Awww.nypost.com/f/print/news/local/ manhattan/brute_busted_as_harlem_pimp OHm... 5/16/2013
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I declare under penalty of perjury that the foregoing is true and correct.

af cay
Signed this _2/ Vay of A Gch , 2024

Signature of Plaintiff

inmate Number

Institution Address

Note: All plaintiffs named in the caption of the com

inmate numbers and addresses.

Oa

 

 

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plaint must date and sign the complaint and provide their

i declare under penalty of perjury that on this 2/ day of felys pss 20 je lam delivering this

complaint 10 prison authorities to be mailed to the Pro Se Office of the Uhited States District Court for the

Southern District of New York,

ey, fh
Signature of Plaintiff: LA. Chik.
&

Rev. 05/2010
